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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 KINGMAN HOLDINGS, LLC,                           §
                                                  §
                Plaintiff,                        §   CIVIL ACTION NO. 4:22-CV-00033-SDJ-
 v.                                               §                 CAN
                                                  §
 SPECIALIZED LOAN SERVICING, LLC                  §
                                                  §
                Defendant.                        §

                                             ORDER

       On March 17, 2022, the Court entered an Order Governing Proceedings directing the

Parties to file their Rule 26(f) conference report on or before April 22, 2022 [Dkt. 4]. The Parties

late filed their Joint Report on April 28, 2022 [Dkt. 6]. The Report is incomplete and fails to

address certain items delineated in the Order Governing Proceedings [Dkt. 4 at 2-3]. The Parties

are directed to file an amended Joint Report, complying with the Order Governing Proceedings

[Dkt. 4], no later than Friday, May 20, 2022, at 5:00 p.m. Accordingly,

       It is therefore ORDERED that the Parties shall file an amended Joint Report no later than

Friday, May 20, 2022, at 5:00 p.m.

       IT IS SO ORDERED.
        SIGNED this 12th day of May, 2022.




                                   ___________________________________
                                   Christine A. Nowak
                                   UNITED STATES MAGISTRATE JUDGE




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